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9
10                                    UNITED STATES DISTRICT COURT
11
                                     NORTHERN DISTRICT OF CALIFORNIA
12
                                           SAN JOSE DIVISION
13
      JOHN STOSSEL, an individual,               Case Number: 5:21-cv-07385-LHK
14
15                      Plaintiff,
                                                 DECLARATION OF KRISTA L. BAUGHMAN
16                                               IN SUPPORT OF LOCAL RULE 6-2(a)
      v.                                         STIPULATION
17
      META PLATFORMS, INC., a Delaware
18    corporation; SCIENCE FEEDBACK, a
      French non-profit organization; and
19    CLIMATE FEEDBACK, a French non-
20    profit organization,

21                      Defendants.
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     Declaration of Krista L. Baughman                           Case No. 5:21-cv-07385-LHK
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1           I, Krista L. Baughman, declare and state as follows:
2           1.      I am a partner at Dhillon Law Group Inc. and counsel for Plaintiff John Stossel
3    (“Plaintiff”). I am an attorney in good standing duly admitted to practice before all Courts of the State
4    of California. I am admitted to practice law in the states of New York and California, and admitted
5    before all state and federal courts in the state of California, and the United States Court of Appeals for
6    the Eleventh Circuit. Except as to those matters stated on information and belief, I have personal
7    knowledge of the matters set forth herein and if called as a witness could and would competently
8    testify thereto. As to those matters stated on information and belief, I believe them to be true.
9           2.      The hearing on Defendant Meta Platforms, Inc. (“Meta”)’s Motion to Dismiss the
10   Complaint and Special Motion to Strike under California’s Anti-SLAPP Statute (Dkt. No. 27)
11   (“Meta’s Motion”) is currently set for hearing on March 24, 2022, at 1:30pm. However, that hearing
12   date is functionally likely to be off calendar, given that the Court has notified all parties that Judge
13   Koh has been confirmed to the Ninth Circuit, and has asked the Parties to meet and confer regarding
14   case reassignment. (Dkt. 39).
15          3.      On December 29, 2021, I met and conferred with counsel for Defendants Science
16   Feedback and Climate Feedback (the “Feedback Defendants”), who notified me that the Feedback
17   Defendants would be appearing in this action shortly and would waive any objection to the manner in
18   which either of the Feedback Defendants were or were not served. Counsel for the Feedback
19   Defendants and I agreed on a proposed briefing schedule for the Feedback Defendants’ anticipated
20   motion(s) in response to the complaint.
21          4.      Between December 29 and 31, 2021, I corresponded with Meta’s counsel, and we
22   agreed that the briefing schedule on Meta’s Motion should remain unchanged, except that Meta’s
23   Motion should be heard on the same date as the hearing on the Feedback Defendants’ anticipated
24   motion, on a date to be set by the Court in April, 2022. Counsel for the Feedback Defendants had
25   informed me that they agree with Plaintiff and Meta’s request that both motions be heard together.
26          5.      The continuance of the hearing on Meta’s Motion is warranted because it is anticipated
27   that the Feedback Defendants will rely on legal arguments in their motion similar to arguments raised
28                                                       2
      Declaration of Krista L. Baughman                                    Case No. 5:21-cv-07385-LHK
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1    in Meta’s Motion. It will therefore promote judicial economy and full consideration of the merits of
2    the legal arguments for the Court to hear argument from all counsel at the same hearing.
3           6.      Moreover, given the imminent reassignment of this case, the continuance of the
4    hearing will have no effect on the schedule for this case.
5           7.      There have been three prior time modifications in this case: one by stipulation, to allow
6    Meta additional time to file its response to the Complaint (Dkt. 18), one by stipulation and Court
7    order, to extend time for Plaintiff’s Opposition to Meta’s response to the complaint and to extend
8    Meta’s reply deadline (Dkt Nos. 19–20); and one by stipulation and Court order, to stay discovery
9    and continue the deadline for initial disclosure until the Court’s order deciding Meta’s motion (Dkt.
10   Nos. 25–26).
11          I declare under penalty of perjury under the laws of the United States of America that the
12   foregoing is true and correct.
13          Dated: January 4, 2022
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15                                                                       /s/ Krista L. Baughman
16                                                                       Krista L. Baughman
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      Declaration of Krista L. Baughman                                  Case No. 5:21-cv-07385-LHK
